         Case 8:19-cr-00061-JVS Document 509 Filed 06/22/21 Page 1 of 2 Page ID #:9033

                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
                                                 CRIMINAL MINUTES - GENERAL




 Case No.          SACR 19-61-JVS                                                             Date     June 22, 2021


 Present: The Honorable        JAMES V. SELNA, U.S. DISTRICT COURT JUDGE
 Interpreter

                Lisa Bredahl                             Not Present                                 Not Present
             Deputy Clerk                        Court Reporter/Recorder                     Assistant U.S. Attorney


                 U.S.A. v. Defendant(s):             Present Cust. Bond        Attorneys for Defendants:       Present App. Ret.

Michael John Avenatti                                 NOT          X      Dean Steward                          NOT             X



 Proceedings:        [IN CHAMBERS] Minute Order re Ex Parte to Continue


             Defendant Michael John Avenatti (“Avenatti”) moves the Court ex parte to
continue the July 13, 2021 trial for approximately 60 days. (Docket No. 484). The
Government has filed an opposition (Docket No. 490), and with leave of Court, Avenatti filed a
reply (Docket No. 496). The application focuses on disclosures concerning Employee 1.

                     The Court denies the application for the following reasons.

             1. Avenatti claims that Employee 1 is the “lynchpin” and “the most important
government witness in the case.” (Motion, p. 2.) This is far from clear. The Government case
was largely formulated before the Government interviewed Employee 1.1 The Government
identifies numerous other sources to support for the claims Count 1 through 10, including the
victim clients. (Opposition, pp. 5-8.)

             2. The Government produced the notes from two interviews with Employee 1 on
June 3, 2021, prior to the date for disclosing Jenks material. The Government represents that
these reports were previously disclosed to Avenatti in the Nike case in advance of that trial.2
(Opposition, p. 2.) Avenatti does not contend otherwise.


         1
         This so even though the Government did interview Employee 1 in the interval between filing the criminal complaint and the
indictment. (See Reply, pp. 2-3.)
         2
          Collectively, the reports run to 24 pages of detail.
CR-11 (10/08)                                        CRIMINAL MINUTES - GENERAL                                           Page 1 of 2
         Case 8:19-cr-00061-JVS Document 509 Filed 06/22/21 Page 2 of 2 Page ID #:9034

                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                              CRIMINAL MINUTES - GENERAL


            3. The November 19, 2019 interview revealed that she had potential mental health
issues and was taking medication. (Opposition, Ex. 3, p. 1; pagination per exhibit). The
Government’s disclosure of Employee 1’s potential issue in a May 4, 2021 email to the
Government as part of the June 3, 2021 production was not the first such indication.3

             4. The Court is not prepared to decide on this application whether and to what
extent expert testimony concerning the conditions Employee 1 has manifested are the proper
subject to expert testimony. (See Opposition, pp, 8-9; Reply, pp. 2-3.) Nevertheless, the Court
believes that there is ample time before trial to identify and retain an expert.4

            5. The Court does not find that the scope of the June 3, 2021 production supports a
continuance. A detailed index was provided, and the Government represent that much of the
production consists of duplicates of prior production.




                                                                                                                :       0

                                                                       Initials of Deputy Clerk   lmb




         3
        The email was not buried in the production which was accompanied by a detailed index, including a specific entry for
Employee 1’s email. (See Opposttion, Ex. 1, Index, p. 30, last line.)
         4
         Employee 1’s condition is neither arcane nor unknown. As Avenatti points out, the condition “is a signficant and widely
recognized medical disorder,” and is included in DSM-5, one of the standard texts in the field. (Motion, p. 5.)
CR-11 (10/08)                                     CRIMINAL MINUTES - GENERAL                                                Page 2 of 2
